Case 19-51291-tnw         Doc 161      Filed 12/09/22 Entered 12/09/22 08:48:54            Desc Main
                                      Document      Page 1 of 1




                         United States Bankruptcy Court
                               Eastern District of Kentucky
                                     Lexington Division

 In Re: Giga Entertainment Media, Inc.                                 Chapter 7
                                                                  19-51291



                                                                 CASE NO. 13-52335

                                    TRUSTEE’S STATUS REPORT
                        *******************************************

        Comes the trustee herein, and for his status report states that the attorneys for the Trustee

is preparing their final billing, at which time the trustee will file his final report.

                                         CERTIFICATE

        This is to certify that a true copy hereof was served this December 9, 2022

         to all parties requesting electronic notice.

                                                               /
                                                  /s/James D. Lyon
                                                  James D. Lyon
                                                  Trustee In Bankruptcy
                                                  PO BOX 34188
                                                  Lexington, KY 40588
                                                  (859) 397-9316
                                                  KBA 42870
